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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION
CORTNEY R. HAWKINS,                       }
                                          }
      Plaintiff,                          }
                                          }
v.                                        }   Case No.: 2:18-cv-00638-ACA
                                          }
HOLY FAMILY CRISTO REY                    }
CATHOLIC HIGH SCHOOL,                     }
                                          }
      Defendant.                          }


                   MEMORANDUM OPINION AND ORDER

      In this employment discrimination case, Plaintiff Cortney R. Hawkins

alleges that Defendant Holy Family Cristo Rey Catholic High School (“Holy

Family”) discriminated against her because of her race and gender, and retaliated

against her for reporting student complaints to school administrators. Ms. Hawkins

asserts claims against Holy Family under Title VII and Title VI for retaliation, race

discrimination, and sex discrimination and § 1981 for race discrimination.

      This case is before the court on Holy Family’s motion to dismiss Ms.

Hawkins’s second amended complaint (doc. 26), Ms. Hawkins’s motion for leave

to file a third amended complaint (doc. 34), and Ms. Hawkins’s motion for leave to

file a sur-reply (doc. 35). For the reasons explained below, and with the benefit of

oral argument, the court GRANTS IN PART and DENIES IN PART Holy
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Family’s motion to dismiss, DENIES Ms. Hawkins’s motion for leave to amend,

and GRANTS Ms. Hawkins’s motion for leave to file a sur-reply.

I.    Motion to Dismiss

      A.    Standard of Review

      Pursuant to Rule 8(a)(2), a complaint must contain “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ.

P. 8(a)(2). Rule 12(b)(6) enables a defendant to move to dismiss a complaint for

“failure to state a claim upon which relief can be granted.” Fed. R. Civ. P.

12(b)(6).

      To survive a motion to dismiss, a complaint must “state a claim to relief that

is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A

claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A plausible

claim for relief requires “enough fact[s] to raise a reasonable expectation that

discovery will reveal evidence” to support the claim. Twombly, 550 U.S. at 556.

      When resolving a motion to dismiss, the court must “accept[] the allegations

in the complaint as true and constru[e] them in the light most favorable to the

plaintiff.” Miljkovic v. Shafritz & Dinkin, P.A., 791 F.3d 1291, 1297 (11th Cir.

2015) (quoting Hill v. White, 321 F.3d 1334, 1335 (11th Cir. 2003) (per curiam)).


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       B.      Factual Background and Procedural History

       Construed in the light most favorable to Ms. Hawkins, the facts alleged in

the second amended complaint are as follows. Ms. Hawkins is a 28-year old

African-American female. (Doc. 23 at ¶ 7). From July 2016 until March 8, 2018,

Ms. Hawkins taught 9th and 10th grade English and 11th and 12th grade African-

American History at Holy Family. (Id. at ¶ 8). Holy Family Principal Cheryl

Kuyk 1 and Holy Family President Father Jon Chalmers supervised Ms. Hawkins

while she was employed by the school. (Id. at ¶ 9).

       Ms. Hawkins reported student complaints regarding inappropriate comments

and disparate punishment of female students to her supervisors on three separate

occasions. (Id. at ¶¶ 10, 11, 13). In September 2017, an African-American female

student approached Ms. Hawkins about “inappropriate comments and disparate

treatment in disciplining female students versus male students.” (Doc. 23 at ¶ 10).

Ms. Hawkins reported to Father Chalmers and Ms. Kuyk the student’s concerns

about the “perception of discriminative treatment of female students.” (Id. at ¶ 10).

       In November 2017, L.W., an African-American female student, and several

other female students approached Ms. Hawkins and “reported their discontent with



1
  The second amended complaint refers to Holy Family’s Principal as both “Kuyk” and “Kyuk.”
(Compare Doc. 23 at ¶¶ 9, 11 with Doc. 23 at ¶¶ 10, 13). Because the spelling is immaterial to
the court’s resolution of the motion to dismiss and for the sake of clarity, the court refers to the
Principal as Ms. Kuyk.
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their Science teacher, Charles Prib[yl], 2 a Caucasian man, and the inappropriate

comments he [made].” (Doc. 23 at ¶ 11). L.W. told Ms. Hawkins that she (L.W.)

was uncomfortable around Mr. Pribyl. (Id. at ¶ 11). Ms. Hawkins reported L.W.’s

concerns to Father Chalmers and Ms. Kuyk, and later, to the State of Alabama

Department of Human Resources. (Id. at ¶¶ 11, 12).

       On January 4, 2018, a male student, K.D.M., told Ms. Hawkins that he too

was uncomfortable with Mr. Pribyl. (Doc. 23 at ¶ 13). Ms. Hawkins reported

K.D.M.’s concern to Father Chalmers and Ms. Kuyk. (Id.).

       On March 8, 2018, Holy Family terminated Ms. Hawkins’s employment for

wearing a hooded jacket in class in violation of the school’s dress code for

teachers. (Id. at ¶ 14). According to Ms. Hawkins, white teachers wore jackets or

coats with hoods. (Doc. 23 at ¶14). The white teachers were not reprimanded or

fired for dress code violations. (Id. at ¶ 24).

       Based on these allegations Ms. Hawkins sued Holy Family. Her second

amended complaint asserts the following claims: Title VII and Title VI Retaliation

(Count I); Race Discrimination (Count II); and Sex Discrimination (Count III).

(Doc. 23). Holy Family filed a motion to dismiss Ms. Hawkins’s second amended

complaint. (Doc. 26). After the parties fully briefed the motion (see doc. 29; doc.

2
  The first time Mr. Pribyl is mentioned in the second amended complaint, his name is spelled
“Pribley.” (See Doc. 23 at ¶ 11, line 3). Because Ms. Hawkins refers to the teacher as Mr. Pribyl
throughout the remainder of the complaint, the court assumes that Pribyl is the proper spelling.
Whether the teacher’s name is Pribley or Pribyl is immaterial to the court’s analysis.
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30), Ms. Hawkins filed a motion for leave to file a third amended complaint (doc.

34). On November 28, 2018, the court held a hearing on the motions.3 After the

hearing, Ms. Hawkins filed a motion for leave to file a sur-reply. (Doc. 35).

Although briefing on Holy Family’s motion to dismiss closed more than two

months ago, the court reluctantly GRANTS Ms. Hawkins’s motion to file a sur-

reply.

          C.     Discussion

          Holy Family moves to dismiss Ms. Hawkins’s claims on both procedural

and substantive grounds. (See Doc. 26; Doc. 30). Procedurally, Holy Family asks

the court to dismiss Ms. Hawkins’s second amended complaint because it is an

improper shotgun pleading. (Doc. 26 at 13-15; Doc. 30 at 3-4). Also procedurally,

Holy Family asks the court to dismiss Ms. Hawkins’s Title VII retaliation, race

discrimination, and sex discrimination claims as abandoned because Ms. Hawkins

did not address these claims in her response brief. (Doc. 30 at 2). Substantively,

Holy Family argues that Ms. Hawkins’s factual allegations do not plausibly state

claims for relief. (Doc. 26 at 5-13; Doc. 30 at 4-6). The court addresses each

argument in turn.




3
    A court reporter was present, and a transcript is available upon request.
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       1.      Shotgun Pleading

       The court may dismiss shotgun pleadings that violate either Rule 8(a)(2) or

Rule 10(b) of the Federal Rules of Civil Procedure. Weiland v. Palm Beach Cty.

Sheriff's Office, 792 F.3d 1313, 1320 (11th Cir. 2015). Ms. Hawkins’s second

amended complaint is a shotgun pleading because it “contain[s] multiple counts

where each count adopts the allegations of the preceding counts, causing each

successive count to carry all that came before and the last count to be a

combination of the entire complaint.” Weiland, 792 F.3d at 1321; see Doc. 23 at

¶¶ 15, 23, 27.       Ms. Hawkins’s second amended complaint also is a shotgun

pleading because it does “not separate[e] into a different count each cause of action

or claim for relief.” Weiland, 792 F.3d at 1323; see Doc. 23 at 5 (“Retaliation

under Title VI & Title VII”); Doc. 23 at 7 (asserting Section 1981 and Title VI sex

discrimination claims together in one count). 4

       Despite the shotgun nature of Ms. Hawkins’s second amended complaint,

the court finds that dismissal on this ground is not appropriate because it is not

“virtually impossible to know which allegations of fact are intended to support


4
  During the November 28, 2018 hearing, Ms. Hawkins’s attorney admitted that her second
amended complaint is a shotgun pleading and that the shotgun nature of the complaint may have
made it confusing for Holy Family and the court to understand what factual allegations support
each of her claims. In an apparent attempt to clarify the basis for each of her claims, during the
hearing, Ms. Hawkins’s attorney discussed facts which do not appear in any of the pleadings.
Because those allegations are not contained in the second amended complaint, the court does not
consider them in ruling on the motion to dismiss.

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which claim(s) for relief.” Weiland, 792 F.3d at 1325 (quoting Anderson v. Dist.

Bd. of Trustees of Cent. Fla. Cmty. College, 77 F.3d 364, 366 (11th Cir. 1996)).

              2.    Abandonment

      In its reply brief, Holy Family asserts that Ms. Hawkins has abandoned her

Title VII retaliation, race discrimination, and sex discrimination claims,

eliminating the need to consider the merits of those claims.

      Holy Family has not cited, and the court has not located, Supreme Court or

Eleventh Circuit precedent directly on point.       And, the court notes that the

consequence of adopting Defendant’s argument would be to allow the court to do

under Rule 12(b)(6) what it cannot do under Rule 56. In the absence of clear

guidance from the Supreme Court or the Eleventh Circuit and the Eleventh

Circuit’s “strong preference that cases be heard on the merits,” Perez v. Wells

Fargo N.A., 774 F.3d 1329, 1342 (11th Cir. 2014) (internal quotation and citation

omitted), the court will not dismiss Plaintiff’s claims based entirely on her failure

to brief her argument.

      Accordingly, the court finds that Ms. Hawkins has not abandoned her Title

VII retaliation, race discrimination, and sex discrimination claims for failing to

address the claims in her response in opposition. Therefore, the court turns to the

merits.




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              3.      Merits

                      a.       Title VII Retaliation

      To state a claim for Title VII retaliation, a plaintiff must allege that: (1) she

engaged in statutorily protected activity; (2) she suffered a materially adverse

action; and (3) there was a causal connection between the protected activity and the

adverse action. Howard v. Walgreen Co., 605 F.3d 1239, 1244 (11th Cir. 2010). It

is undisputed that Ms. Hawkins’s termination constitutes an adverse action, but

Ms. Hawkins’s second amended complaint fails to state a claim for Title VII

retaliation because the facts alleged do not plausibly suggest that Ms. Hawkins

engaged in statutorily protected activity.

      Title   VII’s        anti-retaliation   provision   protects   an   employee   from

discrimination if “(1) ‘[s]he has opposed any practice made an unlawful

employment practice by this subchapter’ (the opposition clause) or (2) ‘[s]he has

made a charge, testified, assisted, or participated in any manner in an investigation,

proceeding, or hearing under this subchapter’ (the participation clause).” Clover v.

Total Sys. Servs., Inc., 176 F.3d 1346, 1350 (11th Cir. 1999) (citing 42 U.S.C. §

2000e–(3)(a)). Ms. Hawkins does not allege that she was retaliated against for

filing a charge or testifying, assisting, or participating in an investigation or

proceeding under Title VII. Nor does it appear that Ms. Hawkins sufficiently

claims protected activity under the opposition clause.


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      To establish statutorily protected conduct under Title VII’s opposition

clause, a plaintiff must “show[] that [s]he had a good faith, reasonable belief that

the employer was engaged in unlawful employment practices.” Little v. United

Tech., Carrier Transicold Div., 103 F.3d 956, 960 (11th Cir. 1997). The second

amended complaint does not allege Ms. Hawkins believed Holy Family engaged in

unlawful employment practices. Instead, Ms. Hawkins opposed how teachers

treated students. (See Doc. 23 at ¶¶ 10-11, 13). Ms. Hawkins’s complaints to

Father Chalmers and Ms. Kuyk about teachers’ alleged discriminatory treatment of

students “in no way indicts any employment practice of [Holy Family].” Holt v.

Lewis, 955 F. Supp. 1385, 1388 (N.D. Ala. 1995), aff’d, 109 F.3d 771 (11th Cir.

1997) (finding that teacher did not engage in protected conduct and dismissing

Title VII retaliation claim because teacher’s complaint about university’s

discrimination against a student did not oppose a discriminatory practice

proscribed by Title VII) (emphasis in original). Because she did not engage in

protected activity, Ms. Hawkins fails to state a claim for Title VII retaliation.

      Because the second amended complaint does not allege facts showing that

Ms. Hawkins engaged in protected activity under Title VII, the court DISMISSES

WITH PREJUDICE Ms. Hawkins’s Title VII retaliation claim.




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                   b.     Title VI Retaliation

      Title VI provides that, “[n]o person in the United States shall, on the ground

of race, color, or national origin, be excluded from participation in, be denied the

benefits of, or be subjected to discrimination under any program or activity

receiving Federal financial assistance.” 42 U.S.C. § 2000d. Title VI’s prohibition

on racial discrimination includes a prohibition against retaliation for complaining

about racial discrimination. See Jackson v. Birmingham Bd. of Educ., 544 U.S.

167, 183-84 (2005) (recognizing a cause of action for retaliation under Title IX);

Shotz v. City of Plantation, Fla., 344 F.3d 1161, 1170 n.12 (11th Cir. 2003);

(construing Titles VI and IX in pari materia); see also McCullough v. Bd. of

Regents of the Univ. Sys. of Ga., 623 F. App’x 980, 982 (11th Cir. 2015)

(recognizing Title VI retaliation claim).

      The Eleventh Circuit analyzes Title VI retaliation claims under the same

framework as Title VII retaliation claims. See McCullough, 623 F. App’x at 982.

Therefore, to state a claim for Title VI retaliation, a plaintiff must allege facts

showing: “(1) [s]he engaged in statutorily protected expression; (2) the [defendant]

took action that would have been materially adverse to a reasonable person; and (3)

there was a causal link between the two events.”        Id.   The second amended

complaint fails to state a claim for Title VI retaliation because Ms. Hawkins has




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not alleged that she engaged in protected activity or that there was a causal link

between any protected activity and the adverse employment action.

      With respect to protected activity, the Fourth Circuit has explained:

      The inquiry is therefore (1) whether [plaintiff] “subjectively (that is, in
      good faith) believed” that the district had engaged in a practice
      violative of [Title IV], and (2) whether this belief “was objectively
      reasonable in light of the facts,” a standard which we will refer to as
      one of “reasonable belief.” Weeks v. Harden Mfg. Corp., 291 F.3d
      1307, 1312 (11th Cir. 2002).
Peters v. Jenney, 327 F.3d 307, 320-21 (4th Cir. 2003) (footnotes omitted)

(emphasis in original). A substantive violation of Title VI occurs when an entity

that receives federal financial assistance discriminates on the basis of race, color,

or national origin. See 42 U.S.C. § 2000d.

      Ms. Hawkins’s second amended complaint fails to state a Title VI retaliation

claim because she has not alleged that Holy Family receives federal funds. (See

generally Doc. 22). Moreover, even if Ms. Hawkins had alleged that Holy Family

receives federal funds, her second amended complaint does not plausibly suggest

that she opposed racial, color, or national origin discrimination against students.

      In response to Holy Family’s motion to dismiss her Title VI retaliation

claim, Ms. Hawkins states that she engaged in protected conduct when she

reported to Father Chalmers and Ms. Kuyk complaints from a male student,

K.D.M., that a teacher asked K.D.M. to kiss his lab partner in front of the class.

(Doc. 29 at 4; see Doc. 23 at ¶ 13). Ms. Hawkins’s second amended complaint

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does not identify the race, color, or national origin of K.D.M. (Doc. 23 at ¶ 13). In

addition, the second amended complaint contains no facts suggesting that the

teacher treated K.D.M. differently than he did other students because of K.D.M’s

race. Thus, Ms. Hawkins has not sufficiently pleaded that she opposed conduct

made unlawful under Title VI.

      Other facts in the second amended complaint likewise fail to support a Title

VI retaliation claim. Ms. Hawkins alleges that she reported to the administration

complaints from African-American female students about “disparate treatment in

disciplining female students versus male students” and “the perception of

discriminative treatment of female students.” (Doc. 23 at ¶ 10). Ms. Hawkins also

alleges that she reported to administration complaints from an African-American

female student about a teacher’s “inappropriate comments” about the student’s

body shape. (Doc. 23 at ¶ 11). These facts do not state a Title VI retaliation claim

because, despite the race of the students voicing the concern, the underlying

conduct about which Ms. Hawkins complained was not allegedly discriminatory

conduct based on race or national origin.

      Because Ms. Hawkins did not engage in protected conduct under Title VI,

she cannot state a Title VI retaliation claim, and the court DISMISSES the claim

WITH PREJDUICE.




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                   c.     Race Discrimination

      In Count II of the second amended complaint, Ms. Hawkins alleges that she

“has been discriminated against and treated differently than similarly-situated

white employees solely because of her race and her advocacy for students” (doc.

23 at ¶ 24), but Ms. Hawkins does not identify the law under which she asserts her

race discrimination claim (see doc. 23 at 6, ¶¶ 23-26). Ms. Hawkins’s failure to

“correctly categorize the legal theory giving rise to the claim” does not warrant

dismissal if the second amended complaint “allege[s] facts upon which relief can

be granted.” See Keene v. Prine, 477 F. App’x. 575, 583 (11th Cir. 2012). Based

on the factual allegations contained in the second amended complaint, the court

finds that at the pleading stage, Ms. Hawkins has stated a viable Title VII and §

1981 race discrimination claim.

      To state a claim for Title VII or § 1981 race discrimination, a plaintiff must

allege facts showing “(1) that [s]he is a member of a protected racial class, (2) that

[s]he was qualified for the position, (3) that [s]he experienced an adverse

employment action, and (4) that [s]he was replaced by someone outside of his

protected class or received less favorable treatment than a similarly situated person

outside of h[er] protected class.” Flowers v. Troup Cty., Ga., School Dist., 803




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F.3d 1327, 1336 (11th Cir. 2015).5 At the pleading stage, the complaint is not

required to sustain its evidentiary burden under McDonnell Douglas. Surtain v.

Hamlin Terrace Found., 789 F.3d 1239, 1246 (11th Cir. 2015) (per curiam). It is

sufficient for the plaintiff to “provide enough factual matter (taken as true) to

suggest intentional race discrimination.” Id. (internal quotation marks and citation

omitted).     Ms. Hawkins’s second amended complaint just barely meets this

standard.

       The introduction to the second amended complaint states that Ms. Hawkins

seeks relief under Title VII and § 1981. (Doc. 23 at 1). The body of Ms.

Hawkins’s second amended complaint alleges that she was terminated for wearing

a hooded jacket in violation of Holy Family’s dress code for teachers. (Id. at ¶ 14).

Ms. Hawkins alleges that “[o]ther white . . . teachers wear jackets or coats with

hoods, including one of the Fathers who is a teacher.” (Id. at ¶ 14). According to

the second amended complaint, Ms. Hawkins “was the only teacher allegedly not

in compliance with the teacher dress code to be terminated, while white teachers

were not chastised, reprimanded, nor fired in similar mode of dress.” (Doc. 23 at ¶

24).   Although not detailed, these facts raise an inference that Holy Family

terminated Ms. Hawkins because she is African-American. Therefore, under the

5
  Whether viewed through the lens of Title VII or § 1981, the elements of a race discrimination
claim are the same. Brown v. Am. Honda Motor Co., Inc., 939 F.2d 946, 949 (11th Cir. 1991)
(“The Supreme Court has held that the test for intentional discrimination in suits under § 1981 is
the same as the formulation used in Title VII discriminatory treatment causes.”).
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Rule 12 standard, Ms. Hawkins has stated a plausible Title VII and § 1981 race

discrimination claim.

                      d.   Sex Discrimination

       During the November 28, 2018 hearing, Ms. Hawkins conceded that she is

not asserting a sex discrimination claim. In her sur-reply, Ms. Hawkins asks the

court “to allow her to rescind the hasty concession made during oral argument.”

(Doc. 35-2 at 5). Given the Eleventh Circuit’s preference that claims be heard on

their merits, see Perez, 774 F.3d at 1342, the court examines whether the second

amended complaint states a claim for sex discrimination.

       Count    III   of   the   second   amended    complaint    is   titled   “Sexual

Discrimination,” but it is less than clear under what legal theory Ms. Hawkins

asserts her sex discrimination claim. (Doc. 23 at 7). To the extent Ms. Hawkins

asserts a sex discrimination claim based on § 1981 or Title VI (see Doc. 23 at ¶

28), the claim fails to state a claim because neither statute prohibits discrimination

based on sex. See 42 U.S.C. § 2000d (prohibiting “race, color, or national origin”

discrimination); Gorman v. Roberts, 909 F. Supp. 1493, 1498 (M.D. Ala. 1995)

(“[S]ection 1981 only applies to racial discrimination, not to discrimination based

upon . . .sex.”).

       In addition, Count III fails to state a claim for sex discrimination under Title

VII. (See Doc. 23 at ¶¶ 1, 27). To state a claim under Title VII, Ms. Hawkins must


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allege facts showing that she was a qualified member of a protected class and was

subjected to an adverse action in contrast to similarly situated male employees.

Wilson v. B/E Aerospace, Inc., 376 F.3d 1079, 1087 (11th Cir. 2004). The second

amended complaint alleges in a conclusory manner that Ms. Hawkins “has been

discriminated against and treated differently than similarly-situated employees

solely because of her sex.” (Doc. 23 at ¶ 27). The court need not accept this

conclusory allegation as true, see Twombly, 550 U.S. at 555, and the second

amended complaint lacks other facts plausibly suggesting that Holy Family

discriminated against Ms. Hawkins because she is a female.

      Accordingly, the court DISMISSES WITH PREJUDICE Ms. Hawkins’s

sex discrimination claim.

II.   Motion to Amend
      Two days before the November 28, 2018 hearing, Ms. Hawkins sought leave

to amend her complaint. (Doc. 34). Ms. Hawkins filed her motion six weeks after

the amended pleading deadline established in the scheduling order. (See Doc. 28 at

1) (setting a deadline of October 16, 2018 for plaintiff to amend her pleadings).

Therefore, Ms. Hawkins must show “good cause” for the amendment. Fed. R. Civ.

P. 16(b)(4) (“A schedule may be modified only for good cause and with the

judge’s consent.”); see So. Grouts & Mortars, Inc. v. 3M Co., 575 F.3d 1235, 1241

(11th Cir. 2009) (“A plaintiff seeking leave to amend its complaint after the


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deadline designated in a scheduling order must demonstrate ‘good cause’ under

Fed. R. Civ. P. 16(b).”).

      In support of her motion for leave to amend, Ms. Hawkins does not address

good cause under Rule 16(b). Rather, she focuses on the liberal amendment

standard under Federal Rule of Civil Procedure 15(a). (Doc. 34 at 1-2). If Ms.

Hawkins had filed her motion for leave to amend before the expiration of the

amended pleading deadline, Rule 15(a) would govern the court’s analysis. But

because Ms. Hawkins filed her motion after the scheduling order deadline, Ms.

Hawkins must first demonstrate good cause under Rule 16(b) before the court can

consider whether amendment is proper under Rule 15(a). See Sosa v. Airprint Sys.,

Inc., 133 F.3d 1417, 1419 (11th Cir. 1998).

      Rule 16(b)’s “good cause standard precludes modification unless the

schedule cannot be met despite the diligence of the party seeking the extension.”

Sosa, 133 F.3d at 1418 (internal quotation marks and citation omitted). Setting

aside the fact that Ms. Hawkins wholly fails to address Rule 16(b)’s good cause in

her motion to amend, the only justification that she provides for amendment is to

“provide clarity and address defendants’ concerns regarding a ‘shotgun’ pleading.”

(Doc. 34 at 1). Ms. Hawkins has been on notice that Holy Family challenged the

shotgun nature of her pleadings since at least June 22, 2018 when Holy Family

filed its motion to dismiss Ms. Hawkins’s original complaint. (Doc. 8 at 16-20).


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In its August 29, 2018 motion to dismiss, Holy Family again sought dismissal of

Ms. Hawkins’s operative complaint as a shotgun pleading. (Doc. 26 at 13-15).

Briefing on Holy Family’s motion closed on September 19, 2018. (See Doc. 29;

Doc. 30). Ms. Hawkins had ample notice and time to seek leave to amend her

complaint to correct the shotgun deficiencies before the October 18, 2018 pleading

deadline, but she did not. Therefore, Ms. Hawkins’s proposed justification for the

amended complaint falls short of Rule 16(b)’s “good cause” threshold.

      Moreover, the factual allegations contained in the proposed third amended

complaint appear in the second amended complaint that she filed on August 15,

2018. (Compare Doc. 23 at 3-5 with Doc. 34-1 at 3-5). In fact, some iteration of

the factual allegations contained in the proposed third amended complaint also

appear in Ms. Hawkins’s original and first amended complaints that she filed on

April 24, 2018 and July 18, 2018, respectively. (Compare Doc. 1 at 3-9 and Doc.

14 at 3 with Doc. 34-1 at 3-5). Thus, even if Ms. Hawkins had shown good cause

for why she could not correct the shotgun pleading deficiencies in her complaint

before the scheduling order deadline, the court still would disallow amendment at

this stage because Ms. Hawkins has had in her possession for at least seven months

the facts contained in the proposed amended complaint.        See So. Grouts &

Mortars, Inc., 575 F.3d at 1242 (plaintiff lacked diligence under Rule 16(b)




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because it filed a motion to amend with information it had known for over a

month).

       In sum, Ms. Hawkins has not demonstrated that she could not meet the

scheduling order pleading deadline with diligence.       Accordingly, the court

DENIES Ms. Hawkins’s motion for leave to amend. (Doc. 34).

III.   Conclusion
       For the reasons explained above, the court GRANTS IN PART and

DENIES IN PART Holy Family’s motion to dismiss. (Doc. 26). The court

DENIES Ms. Hawkins’s motion for leave to amend.           (Doc. 34).     The court

GRANTS Ms. Hawkins’s motion for leave to file a sur-reply. (Doc. 35).

       The court DISMISSES WITH PREJUDICE Ms. Hawkins’s Title VII

retaliation, Title VI race discrimination, and sex discrimination claims.     Ms.

Hawkins’s Title VII and § 1981 race discrimination claim will proceed.

       DONE and ORDERED this December 4, 2018.



                                   _________________________________
                                   ANNEMARIE CARNEY AXON
                                   UNITED STATES DISTRICT JUDGE




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